                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 (DANVILLE DIVISION)


  UNITED STATES OF AMERICA                   )
                                             )
                                             )
  v.                                         )      Case Number: 4:18CR00011-04
                                             )
                                             )
  DASHAUN LAMAR TRENT                        )


       DEFENDANT’S MOTION TO LIMIT THE PROXIMITY OF SECURITY OFFICERS
               TO THE DEFENDANT WHILE THE JURY IS PRESENT

         COMES NOW Your Defendant, Dashaun Lamar Trent, by counsel, and respectfully

  moves this Court for entry of an ORDER directing the U.S. Marshal’s Service to limit the

  proximity of security personnel to the Defendant in the courtroom while the jury is present

  and states the following in support thereof:

         (1)    Your Defendant joins in, and adopts the language and reasoning of,

  Defendant Kevin L. Trent, Jr., ‘s Motion In Limine to Limit the Proximity of Security

  Officers to the Defendant While the Jury is Present and herein before filed at ECF 826.

         (2)    Your Defendant notes that “it is the primary role and mission of the United

  States Marshals Service to provide for the security and to obey, execute, and enforce all

  orders of the United States District Court . . .as provided by law.”1 In other words, it is

  the Court that has the final say regarding the administrative conduct of the trial - including

  decisions regarding the proximity of the Deputy U.S. Marshals to any particular defendant.




         1
                28 U.S.C. § 566 (a) [emphasis added].



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         WHEREFORE, your Defendant, by counsel, moves this Court for entry of an

  ORDER directing the U.S. Marshal’s Service to limit the proximity of security personnel to

  the Defendant in the courtroom while the jury is present.

                                             Respectfully submitted,

                                             DASHAUN LAMAR TRENT

                                             By /s/     Chris K. Kowalczuk




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         Counsel for the Defendant




                                 CERTIFICATE OF SERVICE

         I, Chris K. Kowalczuk, Esquire, hereby certify that on this 26th day of September,

  2019, I electronically filed the foregoing with the Clerk of the Court using the CM/ECF

  system which will send notification of such filing to all counsel of record.

                                                      /s/   Chris K. Kowalczuk




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